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                         UNITED STATES DISTRICT COURT

                         WESTERN DISTRICT OF LOUISIANA

                         LAFAYETTE-OPELOUSAS DIVISION


 UNITED STATES OF AMERICA                           *      CRIM. NO. 08CR-0205-07

 VERSUS                                             *      JUDGE DOHERTY

 JACORY JAMAR SIMON                                 *       MAGISTRATE JUDGE HILL

                       MEMORANDUM RULING AND ORDER

        The defendant, JACORY JAMAR SIMON, has moved the Court to reconsider

 its detention order, on the grounds that the detention order violates the defendant’s due

 process rights. [Record Doc. 228]. The government opposes the defendant’s motion to

 reconsider. [Record Doc. 233]. For those reasons set out below, the defendant’s motion is

 denied.

        The defendant alleges no new evidence in support of his motion to reconsider.

 Rather, the defendant’s sole argument is that the length of pretrial detention violates his

 due process rights. The defendant relies on United States v. Hare, 873 F.2d 796 (5 th Cir.

 1989) in support of his motion. The government recognizes the holding in Hare, and

 argues that the case-by-case analysis required by Hare does not show a due process

 violation here.




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        In Hare the Fifth Circuit said,

               In determining whether due process has been violated, a court must
               consider not only factors relevant in the initial detention decision, such as
               the seriousness of the charges, the strength of the government's proof that
               the defendant poses a risk of flight or a danger to the community, and the
               strength of the government's case on the merits, but also additional factors
               such as the length of the detention that has in fact occurred or may occur in
               the future, the non-speculative nature of future detention, the complexity of
               the case, and whether the strategy of one side or the other occasions the
               delay.


 873 F.2d at 801.

        The defendant has been in custody since August 13, 2008. [Record Doc. 29]. Trial

 in this case is scheduled for September 28, 2009. Accordingly, the defendant will be in

 pretrial detention for over 13 months when trial commences. The undersigned is very

 familiar with this case, having met with counsel several times and having discussed with

 counsel potential trial dates.

        Considering the factors set out by the Fifth Circuit in Hare, the court finds that the

 defendant’s due process rights are not violated by the length of pretrial detention in this

 case. First, the length of pretrial detention is non-speculative. The trial date was selected

 after conferring with all counsel with due concern that the defendants have sufficient time

 to prepare for pretrial motion practice and for trial, given the number of defendants and

 the amount of discovery provided by the government. This discovery, of course, includes

 multiple telephone calls intercepted pursuant to a Title III authorization, as well as

 surveillance and other evidence. While it is true that counsel for some of the defendants

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 objected to a trial date occurring after the summer of 2009 (counsel for this defendant was

 one of those counsel who objected), based on the calendar of counsel for the government

 as well as the court, the September 29 trial date was the earliest available practical date.

        The delay in this case has not been as a result of trial strategy by the government.

 Rather, the delay was caused by the complexity of the case, the number of defendants and

 the competing interests of all counsel, including counsel for the defendants. The

 government has not, in this case, unreasonably extended the period of pretrial detention.

 Immediately after the defendants were in custody, the court met with counsel to discuss

 discovery and set deadlines for the filing of pre-trail motions. [Record Doc. 211].

 Thereafter, trial was set for September 28, 2009. The Government has neither sought, nor

 gained, trial advantage by the length of pre-trial detention.

        Nevertheless, by the time trial commences, the defendant will have been in pretrial

 detention for over 13 months. While counsel for the defendant argues that this length of

 pretrial detention violates the defendant’s due process rights, counsel fails to cite the

 Court to a single case holding that 13 months pretrial detention, in a case similar to the

 case before this Court, violates the due process clause.

        As the Fifth Circuit recognized in Hare, and as the Supreme Court recognized in

 United States v. Salerno, 107 S.Ct. 2095 (1987), the due process analysis must be made

 on a case-by-case basis. Nevertheless, guidance can be gained from other cases in which

 the due process analysis has been completed. See United States v. Ojeda Rios, 846 F.2d



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 167,169 (2d Cir. 1988) (32 months of pretrial incarceration violated the due process

 clause); United States v. Millan, 4 F.3d 1038, 1044 (2d Cir. 1993) (30 to 31 months

 pretrial incarceration did not violate the due process clause); United States v. El-

 Gabrowney, 35 F.3d 63, 65 (2d Cir. 1986) (27 months pretrial detention did not violate

 the due process clause).

        In contrast, the defendant has not cited, and the undersigned has been unable to

 locate, any case holding that pretrial detention of 13 months, in the absence of

 governmental misconduct, requires release of the defendant when detention is otherwise

 proper.

        Recently, Magistrate Judge Methvin recognized that the length of detention alone

 is not dispositive, and it carries no fixed weight in the due process analysis. United States

 v. Flores, 2007 WL 4553965, *2 (W.D. La, 2007) citing, United States v. Zannino, 798

 F.2d 544, 548-49 (1 st Cir. 1986). The undersigned agrees with Judge Methvin’s analysis,

 and has so held in denying a motion to reconsider detention filed by Darius Fisher, a co-

 defendant. [Record Doc. 231].

        Here, the government has a clearly nonpunitive reason for the detention, and the

 detention here does not appear excessive in relation to this nonpunitive purpose, that is,

 the protection of the community. Milan, 4 F.3d at 1043, and the cases cited therein.

           Given the complexity of the case, the number of defendants and counsel and the

 volume of the discovery, the defendant has failed to show any due process violation



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 results from his pre-trial detention. Should the case be further continued and the trial date

 postponed, the defendant is free to again urge that, at that time, his pre-trial detention

 violates the due process clause. Until then, the detention order previously entered herein

 will remain in force.

        IT IS SO ORDERED.

        March 23, 2009, Lafayette, Louisiana.




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